Case 0:25-cv-60315-WPD Document 44 Entered on FLSD Docket 04/30/2025 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 25-cv-60315-WPD

  GENIE-S INTERNATIONAL LTD.,

         Plaintiff,

  v.

  THE INDIVIDUALS, CORPORATIONS,
  LIMITED LIABILITY COMPANIES,
  PARTNERSHIPS, AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON SCHEDULE
  A,

        Defendants.
  ___________________________________________/

   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF CERTAIN DEFENDANTS

         TO THE COURT AND ALL INTERESTED PARTIES:

         PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(i), Plaintiff,

  GENIE-S INTERNATIONAL LTD., voluntarily dismisses the following Defendants listed on

  Schedule A to the Complaint without prejudice:

   DOE No.      Defendant Seller    Defendant Online Marketplace
        34      VOVOU US            https://www.amazon.com/sp?seller=A3AA4JJYS2C7R2
        42      zhuotianshan        https://www.amazon.com/sp?seller=AAILGMDUEP0GE
        72      Domey               https://us.shein.com/store/home?store_code=9143486336
        90      hui yi              https://us.shein.com/store/home?store_code=4032426850
        95      JinhuaTH            https://us.shein.com/store/home?store_code=7825941569
        96      jiyingmaoyi         https://us.shein.com/store/home?store_code=5652630791
       103      MDHAND              https://us.shein.com/store/home?store_code=9807115573
                Park Lan daily
       108                          https://us.shein.com/store/home?store_code=2213495805
                necessities
       125      yunhe01             https://us.shein.com/store/home?store_code=3516959014
       127      YW Jingheng         https://us.shein.com/store/home?store_code=5978618708
       129      YWDAIWO             https://us.shein.com/store/home?store_code=1027405934
       133      zhiyumaoyi          https://us.shein.com/store/home?store_code=2033280058
       134      zugexb              https://us.shein.com/store/home?store_code=1195199663
       135      An Liang Be         https://www.temu.com/an--be-m-634418216397182.html


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Case 0:25-cv-60315-WPD Document 44 Entered on FLSD Docket 04/30/2025 Page 2 of 2




   DOE No.     Defendant Seller   Defendant Online Marketplace
               fashion Bag        https://www.temu.com/sports-equipment-ce-m-
      137
               monopoly           634418217474687.html
      142      SAIZOU             https://www.temu.com/saizou-m-634418214105300.html

   Dated: April 29, 2025                         Respectfully submitted,

                                                 BOIES SCHILLER FLEXNER LLP

                                         By: /s/ Leigh Salomon
                                             Leigh Salomon (FL Bar No. 1054106)
                                             100 SE 2nd Street, Suite 2800
                                             Miami, FL 33131
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                                                 Attorney for Plaintiff
                                                 GENIE-S INTERNATIONAL LTD.




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